            Case 3:23-cv-03417-VC Document 87 Filed 01/23/24 Page 1 of 6




[counsel on signature page]




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                           Lead Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiff,   JOINT STIPULATION AND
                                                  [PROPOSED] ORDER REGARDING
       v.                                         SCHEDULE AS MODIFIED

META PLATFORMS, INC.,                             Judge: Hon. Vince Chhabria
                                                  Date: January 25, 2024
                                    Defendant.    Time: 1:30 p.m.
                                                  Location: Videoconference




Lead Case No. 3:23-cv-03417-VC
               JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULE
            Case 3:23-cv-03417-VC Document 87 Filed 01/23/24 Page 2 of 6




       Plaintiffs Richard Kadrey, Sarah Silverman, Christopher Golden, Michael Chabon, Ta-

Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura

Lippman, Rachel Louise Snyder, Ayelet Waldman, and Jacqueline Woodson (collectively,

“Plaintiffs”) and Defendant Meta Platforms, Inc. (collectively, the “Parties”) jointly stipulate and

agree, subject to the Court’s approval, to the proposed schedule set forth in the attached Exhibit

A, which is in the form of a proposed order.

       WHEREAS, on January 12, 2024, the Court entered an order (“Order”) directing the

Parties to file stipulated or competing proposed schedules “which culminate[] in a MSJ hearing

in January/February 2025 with a CMC to be scheduled 2-3 weeks after.” (ECF No. 74);

       WHEREAS, the Court’s order also indicates that the case schedule is to be further

discussed at the upcoming January 25, 2024 motion hearing.

       WHEREAS, the Parties met and conferred, and agreed on the proposed schedule attached

herewith.

       NOW THEREFORE, the Parties, through their undersigned counsel, hereby stipulate,

agree and respectfully request that the Court enter an Order in the form attached hereto as

Exhibit A, as may be modiﬁed and approved by the Court.




Lead Case No. 3:23-cv-03417-VC              1
                JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULE
          Case 3:23-cv-03417-VC Document 87 Filed 01/23/24 Page 3 of 6




                            EXHIBIT A: PROPOSED SCHEDULE

PURSUANT TO STIPULATION AND GOOD CAUSE SHOWING, IT IS SO ORDERED:

                              Event                                                                     Date
 Document Production Begins                                            April 1, 2024
 Date by which the parties, after good faith efforts, anticipate
 they will have substantially completed their production of
                                                                       July 1, 2024
 documents in response to discovery that is not subject to any
 pending dispute
 Close of Fact Discovery                                               September 30, 2024
 Opening Expert Reports Due                                            October 11, 2024
 Rebuttal Expert Reports Due                                           November 8, 2024
 Reply Expert Reports Due                                              November 22, 2024
 Close of Expert Discovery                                             December 20, 2024
 Opening MSJ/Daubert Briefs Due                                        January 10, 2025
 Opposition MSJ/Daubert Briefs Due                                     February 7, 2025
 Reply MSJ/Daubert Briefs Due                                          February 21, 2025
 Hearing on MSJ                                                        March 6, 2025 at 10:00AM

                                                                                  S DISTRICT
                                                                                TE           C
                                                                              TA
Date:          January 23       , 2024                                                                    O
                                                                          S




                                                                                                           U
                                                                        ED




                                                                                                            RT
                                                      VINCE CHHABRIA                 ERED
                                                                    UNIT




                                                                             O ORD D
                                                                     IT IS S      IF IE
                                                      United States District
                                                                        AS MO  Judge
                                                                                D
                                                                                                                   R NIA


                                                                                                      habria
                                                                     NO




                                                                                            ince Ch
                                                                                  Judge V
                                                                                                                   FO
                                                                      RT




                                                                                                               LI




                                                                             ER
                                                                        H




                                                                                                           A




                                                                                  N                            C
                                                                                                          F
                                                                                      D IS T IC T O
                                                                                            R




Lead Case No. 3:23-cv-03417-VC              2
                JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULE
         Case 3:23-cv-03417-VC Document 87 Filed 01/23/24 Page 4 of 6




Dated: January 22, 2024             JOSEPH SAVERI LAW FIRM, LLP.

                                    By:         /s/ Joseph R. Saveri
                                                    Joseph R. Saveri

                                    Joseph R. Saveri (State Bar No. 130064)
                                    Cadio Zirpoli (State Bar No. 179108)
                                    Christopher K.L. Young (State Bar No. 318371)
                                    Holden Benon (State Bar No. 325847)
                                    Kathleen J. McMahon (State Bar No. 340007)
                                    Travis Manfredi (State Bar No. 281779)
                                    JOSEPH SAVERI LAW FIRM, LLP.
                                    601 California Street, Suite 1000
                                    San Francisco, California 94108
                                    Telephone:     (415) 500-6800
                                    Facsimile:     (415) 395-9940
                                    Email:         jsaveri@saverilawfirm.com
                                                   czirpoli@saverilawfirm.com
                                                   cyoung@saverilawfirm.com
                                                   hbenon@saverilawfirm.com
                                                   kmcmahon@saverilawfirm.com
                                                   tmanfredi@saverilawfirm.com

                                    Matthew Butterick (State Bar No. 250953)
                                    1920 Hillhurst Avenue, #406
                                    Los Angeles, CA 90027
                                    Telephone:     (323) 968-2632
                                    Facsimile:     (415) 395-9940
                                    Email:         mb@buttericklaw.com

                                    Counsel for Kadrey Plaintiffs and the Proposed Class




Lead Case No. 3:23-cv-03417-VC              3
                JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULE
         Case 3:23-cv-03417-VC Document 87 Filed 01/23/24 Page 5 of 6




Dated: January 22, 2024             CAFFERTY CLOBES MERIWETHER &
                                    SPRENGEL LLP

                                    By:         /s/ Bryan L. Clobes
                                                   Bryan L. Clobes

                                    Bryan L. Clobes (admitted pro hac vice)
                                    CAFFERTY CLOBES MERIWETHER
                                    & SPRENGEL LLP
                                    205 N. Monroe Street
                                    Media, PA 19063
                                    Telephone:     (215) 864-2800
                                    Email:        bclobes@caffertyclobes.com

                                    Alexander J. Sweatman (pro hac vice anticipated)
                                    CAFFERTY CLOBES MERIWETHER
                                    & SPRENGEL LLP
                                    135 South LaSalle Street, Suite 3210
                                    Chicago, IL 60603
                                    Telephone: (312) 782-4880
                                    Email:     asweatman@caffertyclobes.com

                                    Daniel J. Muller (State Bar No. 193396)
                                    VENTURA HERSYE & MULLER, LLP
                                    1506 Hamilton Avenue
                                    San Jose, California 95125
                                    Telephone:     (408) 512-3022
                                    Facsimile:     (408) 512-3023
                                    Email:         dmuller@venturahersey.com

                                    Counsel for Chabon Plaintiffs and the Proposed Class




Lead Case No. 3:23-cv-03417-VC              4
                JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULE
         Case 3:23-cv-03417-VC Document 87 Filed 01/23/24 Page 6 of 6




Dated: January 22, 2024             COOLEY LLP

                                    By:        /s/ Bobby Ghajar
                                                  Bobby Ghajar

                                    COOLEY LLP
                                    BOBBY GHAJAR (198719)
                                    (bghajar@cooley.com)
                                    COLETTE GHAZARIAN (322235)
                                    (cghazarian@cooley.com)
                                    1333 2nd Street, Suite 400
                                    Santa Monica, California 90401
                                    Telephone: (310) 883-6400
                                    Facsimile: (310) 883-6500

                                    MARK WEINSTEIN (193043)
                                    (mweinstein@cooley.com)
                                    JUDD LAUTER (290945)
                                    (jlauter@cooley.com)
                                    3175 Hanover Street
                                    Palo Alto, CA 94304-1130
                                    Telephone: (650) 843-5000
                                    Facsimile: (650) 849-7400

                                    LEX LUMINA PLLC
                                    MARK A. LEMLEY (155830)
                                    (mlemley@lex-lumina.com)
                                    745 Fifth Avenue, Suite 500
                                    New York, NY 10151
                                    Telephone: (646) 898-2055
                                    Facsimile: (646) 906-8657

                                    Attorneys for Defendant
                                    META PLATFORMS, INC.




Lead Case No. 3:23-cv-03417-VC              5
                JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULE
